                                       United States District Court
                                             NORTHERN DISTRICT OF OKLAHOMA

       JOHN OLAGUES

                             Plaintiff(s)

vs.                                                                    Case Number: 4:17-CV-00153-GKF-TLW

       WPX ENERGY INC.,et al.
                            Defendant(s)

                                            CORPORATE DISCLOSURE STATEMENT

Pursuant to Fed.R.Civ.P. 7.1, which states:
                      A nongovernmental corporate party to an action or proceeding in a district court must file
                      a statement that identifies any parent corporation and any publicly held corporation that
                      owns 10% or more of its stock or states that there is no such corporation.


                                                      WPX ENERGY INC.
                                                       [name of party]

who is a(check one) Q PLAINTIFF                   \7\ DEFENDANT          in this action, makes the following disclosure:

1.        Is party a publicly held corporation or other publicly held entity?
                    (Check one) 13 YES            Dno
2.        Does party have any parent corporations?
                    (Check one) □ YES             0 NO
           If YES, identify all parent corporations, including grandparent and great-grandparent corporations:




3.         Is 10% or more of the stock of party owned by a publicly held corporation or other publicly held
           entity?
                     (Check one) □ yes             0NO
           If YES, identify all such owners:




 Corporate Disclosure Statement                                i                                              CV-24 (04/07)
